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                                                                                                        ELECTRONICALLY FILED - 2022 Jul 13 8:48 AM - SPARTANBURG - COMMON PLEAS - CASE#2022CP4202582
                                                                                EXHIBIT 1
 STATE OF SOUTH CAROLINA                     )        IN THE COURT OF COMMON PLEAS
                                             )           SEVENTH JUDICIAL CIRCUIT
 COUNTY OF SPARTANBURG                       )
                                             )            C.A. NO.: 2022-CP-42- _______
 Teresa Durham and Glenn Durham,             )
                                             )                      SUMMONS
                   Plaintiffs                )
                                             )
       v.                                    )                (Jury Trial Demanded)
                                             )
 Wal-Mart Stores, Inc., Wal-Mart Stores      )
 East, L.P. d/b/a Wal-Mart Store #2687,      )
 Amanda Reynolds, John Doe1 and John         )
 Doe 2.                                      )
                                             )
                   Defendants.

TO THE DEFENDANTS ABOVE NAMED:

       YOU ARE HEREBY SUMMONED and required to answer the COMPLAINT in this

action a copy of which is attached hereto and herewith served upon you, and to serve a copy of

your Answer to the Complaint upon the subscriber at 209 E. Washington St., Greenville, South

Carolina, 29601, within thirty (30) days after the service thereof, exclusive of the day of such

service. If you fail to answer the Complaint within this thirty (30) day period, the Plaintiffs will

apply to the Court for the relief demanded in the Complaint and judgment will be taken against

you by default.

       IN THE EVENT YOU ARE AN INFANT OVER FOURTEEN YEARS OF AGE OR AN

IMPRISONED PERSON, you are further summoned and notified to apply for the appointment of

a Guardian ad Litem to represent you in this action within thirty (30) days after the service of this

Summons and Notice upon you. If you fail to do so, application for such appointment will be

made by the Plaintiffs herein.

       IN THE EVENT YOU ARE AN INFANT UNDER FOURTEEN YEARS OF AGE OR

ARE INCOMPETENT OR INSANE, then you and the Guardian or Committee are further
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summoned and notified to apply for the appointment of a Guardian ad Litem to represent said

infant under fourteen years of age or said incompetent or insane person within thirty (30) day after

the service of this Summons and Notice upon you. If you fail to do so, application for such

appointment will be made by the Plaintiffs herein.


                                              Fayssoux & Landis, P.A.

                                              s/Geoffrey W. Gibbon
                                              Geoffrey W. Gibbon, SC Bar # 74918
                                              P.O. Box 10207
                                              Greenville, SC 29603
                                              (864) 233-0445 phone
                                              geoff@fayssouxlaw.com

                                              Eller Tonnsen Bach, LLC

                                              s/Eric R. Tonnsen_________________
                                              Eric R. Tonnsen, SC Bar #74800
                                              1306 South Church Street, Suite 100
                                              Greenville, SC 29605
                                              864-236-5013 phone
                                              etonnsen@etblawfirm.com


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 STATE OF SOUTH CAROLINA                )           IN THE COURT OF COMMON PLEAS
                                        )              SEVENTH JUDICIAL CIRCUIT
 COUNTY OF SPARTANBURG                  )
                                        )               C.A. NO.: 2022-CP-42- _______
 Teresa Durham and Glenn Durham,        )
                                        )                        COMPLAINT
                   Plaintiffs           )
                                        )
       v.                               )                   (Jury Trial Demanded)
                                        )
 Wal-Mart Stores, Inc., Wal-Mart Stores )
 East, L.P. d/b/a Wal-Mart Store #2687, )
 Amanda Reynolds, John Doe 1 and John )
 Doe 2.                                 )
                                        )
                   Defendants.

       Plaintiffs, complaining of the above-named Defendants, would respectfully show and

allege unto this Honorable Court as follows:

                              PARTIES AND JURISDICTION

       1.     Plaintiffs are husband and wife, and are citizens and residents of Greenville County,

South Carolina.

       2.     Defendants Wal-Mart Stores, Inc. and Wal-Mart Stores East, L.P. (“Wal-Mart”) are

foreign entities organized and existing pursuant to the laws of the state of Delaware with their

principal place of business in Arkansas and are authorized to do business in Spartanburg County,

South Carolina. The Wal-Mart store where the subject accident occurred is located at 14055 East

Wade Hampton Boulevard, Greer, South Carolina in Spartanburg County and bears Wal-Mart

Store number 2687 (the “Greer Wal-Mart”).

       3.     Defendant Reynolds is the Manager of the Greer Wal-Mart and is a citizen and

resident of Greenville County, South Carolina.

       4.     Defendants John Doe 1 and John Doe 2 are employees of the Greer Wal-Mart and

is a citizen and resident of Spartanburg and/or Greenville County, South Carolina.
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       5.       The incident giving rise to this action occurred in Spartanburg County, South

Carolina.

       6.       That this Honorable Court has jurisdiction of the parties and the subject matter set

forth herein.

                                  FACTUAL BACKGROUND

       7.       On July 19, 2019 Defendant Manager was the store manager, manager, and/or

General manager of the Greer Wal-Mart with responsibility for supervising and training employees

and ensuring that Greer Wal-Mart customers were safe while shopping and were not injured by

other Wal-Mart employees.

       8.       On July 19, 2019 Defendant John Doe was an employee of the Greer Wal-Mart,

responsible for stocking shelves and responsible for doing so in a reasonable and safe manner.

       9.       On July 19, 2019, Glenn and Teresa Durham were shopping at the Greer Wal-Mart

near the rear of the store. Defendant Doe and other Wal-Mart employees were transporting an

overloaded pallet jack near the Durhams when the items on top of the pallet fell and struck both

Durhams.

       10.      The Durhams were injured as a result of the accident.

                             FOR A FIRST CAUSE OF ACTION
                       (Negligence, Gross Negligence, and Recklessness)

       11.      Plaintiffs incorporate and re-allege their previous responses as if set forth herein

verbatim.

       12.      Defendants owed duties to the Durhams to operate the Greer Wal-Mart in a safe

manner and to reasonably complete work throughout the store, including stocking merchandise,

so as not to injure the Durhams and other customers.
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       13.     Defendants breached their duties by failing to properly pallet the merchandise,

failing to properly control and steer the pallet jack, operating the pallet jack recklessly near the

store’s customers, failing to properly train employees regarding the stacking and transportation of

merchandise, and rushing to unload the pallet without due regard for the safety of Wal-Mart

customers.

       14.     Defendants breached their duties to the Durhams to operate its store safely and such

breach of this duty was the proximate cause of the accident and the Durhams’ damages.

       15.     Defendants’ conduct was reckless, willful, and wanton and Defendants failed to

exercise the degree of care and safety ordinarily used in the same or similar circumstances.

       16.     As a result of Defendants’ conduct, the Durhams suffered personal injuries, lost

wages, loss of enjoyment of life, pain and suffering, and medical treatment.

       17.     Due to the willful, wanton, reckless, grossly negligent, and negligent acts of

Defendants as set out above, Plaintiffs are entitled to recover actual and punitive damages as

determined by the trier of fact.

       WHEREFORE, having stated their factual allegations and causes of action against

Defendants, Plaintiffs hereby pray for the following:

       A.      A trial by jury;

       B.      Judgment against Defendants for actual, consequential and punitive damages pled
               herein in an amount to be determined by the jury;

       C.      For the costs of this action;

       D.      For such other and further relief as this Court deems just and proper.




                                      [Signature Page Follows]
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                               Fayssoux & Landis, P.A.

                               s/Geoffrey W. Gibbon
                               Geoffrey W. Gibbon, SC Bar # 74918
                               P.O. Box 10207
                               Greenville, SC 29603
                               (864) 233-0445 phone
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                               Eller Tonnsen Bach, LLC

                               s/Eric R. Tonnsen_________________
                               Eric R. Tonnsen, SC Bar #74800
                               1306 South Church Street, Suite 100
                               Greenville, SC 29605
                               864-236-5013 phone
                               etonnsen@etblawfirm.com

                               Attorneys for Plaintiffs.

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 STATE OF SOUTH CAROLINA                    )       IN THE COURT OF COMMON PLEAS
                                            )          SEVENTH JUDICIAL CIRCUIT
 COUNTY OF SPARTANBURG                      )
                                            )            C.A. NO.: 2022-CP-42- 02582
 Teresa Durham and Glenn Durham,            )
                                            )
                  Plaintiffs                )
                                            )         ACCEPTANCE OF SERVICE ON
       v.                                   )           BEHALF OF DEFENDANTS
                                            )
 Wal-Mart Stores, Inc., Wal-Mart Stores     )
 East, L.P. d/b/a Wal-Mart Store #2687,     )
 Amanda Reynolds, John Doe1 and John        )
 Doe 2.                                     )
                                            )
                  Defendants.

       I, Mary D. LaFave, as counsel for Defendants, Wal-Mart Stores, Inc., Wal-Mart Stores

East, L.P. d/b/a Wal-Mart Store #2687, Amanda Reynolds, John Doe 1, and John Doe 2, hereby

attest that I am authorized and agree to accept service of the Summons and Complaint in the above-

captioned matter on behalf of all Defendants. I agree that service of the Summons and Complaint

shall be effective upon my execution of this Acceptance of Service on the date herein below.




                                                    s/Mary D. LaFave
                                                    Mary D. LaFave, Esq. SC BAR #75366
                                                    Crowe LaFave Garfield & Bagley
                                                    P.O. Box 1149
                                                    Columbia, South Carolina 29201
                                                    803.726.6756 (office)
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August 30, 2022
Columbia, South Carolina                            Attorney for Defendants
